Case: 1:21-cv-03848 Document #: 60 Filed: 08/03/23 Page 1 of 1 PagelD #:710 lL

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
ws TPS

“17 ¢.
FILE

AUG 08 2023 Wr UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

)

) Case Number: Q\—-Cv 364 y
Plaintiff )

Tone PO ) — Sudge: Greve C. Sees

v. )

) Magistrate Judge: Coy

)
Defendant )

+
AS a wo +2

aad ype docke' a8 BEAN 5
ewer a an\ an
eed Se ~
\Qus Ne oe acqereted ’
oer’
goss! iw Sm ew el’y \
2 gory 3 @ yornes LO or)

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
